  Case 1:19-cv-01986-MN Document 49 Filed 09/04/20 Page 1 of 6 PageID #: 774




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 ARBOR GLOBAL STRATEGIES LLC,                      )
 a Delaware Limited Liability Company,             )
                                                   )
                         Plaintiff,                )
         v.                                        )     C.A. No. 19-1986-MN
                                                   )
 XILINX, INC., a Delaware Corporation,             )
                                                   )
                         Defendant.                )

         PLAINTIFF ARBOR GLOBAL STRATEGIES LLC’S OPPOSITION TO
               DEFENDANT’S MOTION FOR RECONSIDERATION

        This Court should deny Defendant’s Motion for Reconsideration (“Motion”) because

Defendant has not presented any reasonable grounds that would warrant reconsideration. Rather,

Defendant’s reference to Arbor Global Strategies LLC’s (“Arbor”) filing in the Eastern District of

Texas merely confirms that Defendant disagrees that it infringes based on its interpretation of the

term “stacked”, which is a fact that existed before the Court decided Defendant’s Motion to

dismiss. Such a disagreement is not a unique consideration in a patent dispute.

        As to Defendant’s request for expedited claim construction on this term, the Court rejected

that proposal when it issued the Scheduling Order on September 2, 2020, D.I. No. 47. As the

Court likely concluded, there is nothing specifically unique to Defendant’s claim about the

meaning of the term “stacking” which requires a deviation from the case schedule and multiple

claim construction proceedings. Defendant is also not representing that this is the only claim

construction issue for the Court decide and has failed to identify any evidence to even suggest that

it could any reasons it could prevail on its proposed claim construction, highlighting the tenuous

nature of its request.
  Case 1:19-cv-01986-MN Document 49 Filed 09/04/20 Page 2 of 6 PageID #: 775




                                           ARGUMENT

       Defendant’s Motion should be denied because it does not satisfy any of the narrow

circumstances under which a motion for reconsideration may be granted. Defendant tellingly

omits the standard, presumably because it knows it plainly is not met here. Namely, Defendant

ignores Local Rule 7.1.5’s mandate that reconsideration should be granted only “sparingly,” and

identifies no (i) intervening change in controlling law; (ii) the availability of new evidence not

available when the court made its decision; or (iii) a need to correct a clear error of law or fact to

prevent manifest injustice. See In re Energy Future Holdings Corp., 904 F.3d 298, 311 (3d Cir.

2018). Its Motion likewise presents none of the circumstances under which these types of motions

are granted. Indeed, Defendant does not argue that the Court has patently misunderstood a party,

made a decision outside the adversarial issues presented by the parties, or made an error not of

reasoning but of apprehension. See Schering Corp. v. Amgen, Inc., 25 F. Supp. 2d 293, 295 (D.

Del. 1998).

       Rather, as set forth more fully below, courts have routinely rejected the very grounds that

is the basis for Defendant’s Motion, which is namely “a request that [the] court rethink a decision

already made” (Smith v. Meyers, No. 09-cv-00814, 2009 WL 5195928, at *1 (D. Del. Dec. 30,

2009)) and “repetition of arguments that were or should have been presented to the court

previously.” Karr v. Castle, 768 F. Supp. 1087, 1093 (D. Del. 1991), aff'd sub nom. United States

v. Carper, 22 F.3d 303 (3d Cir. 1994).

       A.      Defendant Has Not Met the Standard for Reconsideration

       Defendant merely parrots its initial motion to dismiss arguments without presenting any

new evidence or change of law. Defendant hangs its hat on Arbor’s position that the term

“stacked” deserves its plain and ordinary meaning, and suggests that this is somehow “new”

evidence without explanation. This is not new evidence. Intel Corp. v. Future Link Sys., LLC,


                                                -2-
  Case 1:19-cv-01986-MN Document 49 Filed 09/04/20 Page 3 of 6 PageID #: 776




No. 14-cv-00377, 2017 U.S. Dist. LEXIS 14352, at *2 (D. Del. Jan. 27, 2017) (denying

defendant’s motion for reconsideration because defendant “simply repeats arguments that were

previously raised . . . and does not add anything that could not have been presented to the Court

before”). Arbor has maintained, as it did in its Opposition to Defendant’s original Motion to

Dismiss, that Defendant refers to its Accused Products as “stacked.” D.I. 15 at 10-13. Arbor

asserted in its Complaint that Defendant’s Accused Products are “stacked.” D.I. 1 ¶¶ 33, 52, 69,

87. And, as the Court noted in its Order, Defendant’s claims to the contrary go to the interpretation

of the claim term “stacked.” Thus, Defendant’s present Motion merely repeats its conclusory

arguments regarding “stacked” and does not identify any new evidence (or argument) from what

it presented previously to the Court.

       Further, Defendant’s Motion is premised on attorney argument that the plain and ordinary

meaning of “stacked” cannot include side-by-side. Defendant’s lack of evidence to support such

argument do not present grounds to depart from the Court’s established procedures for handling

claim construction.    This is particularly true where Defendant refers to its “side-by-side”

configuration of the Accused Products as “stacked,” an issue that Arbor raised in its Opposition to

the original Motion to Dismiss. See, e.g., Declaration of Kristopher Kastens (“Kastens Decl.”) at

Ex. 1; see also id. at Exs. 1-9. Yet another example is reproduced in relevant part below:




                                                -3-
  Case 1:19-cv-01986-MN Document 49 Filed 09/04/20 Page 4 of 6 PageID #: 777




Arbor has been consistent – Defendant’s documents show that its Accused Products are “stacked,”

such that there is no “change” to justify Defendant’s Motion, as well as no merit to Defendant’s

naked attorney arguments.

       B.      Early Claim Construction is Not Warranted

       After letter briefing from the parties on this issue (D.I. 46), the Court rejected Defendant’s

proposal for early claim construction on “stacking.” (D.I. 47). Indeed, Defendant’s proposal will

not result in any judicial efficiency and is unduly prejudicial to Arbor. It is likely that the Court

will have to engage in another claim construction to address other terms, given the lack of merit

to Defendant’s claims regarding “stacked.” There is substantial intrinsic evidence, as well as

extrinsic evidence beyond just Defendant’s descriptions of its “stacked” products, that demonstrate

that the plain and ordinary meaning of the term “stacked” is consistent with Arbor’s infringement

allegations. See e.g., Kastens Decl. Ex. 9 (“Another die-stacking approach takes multiple silicon

die, and ‘stacks’ them side-by-side on a silicon interposer carrier”).


                                                -4-
  Case 1:19-cv-01986-MN Document 49 Filed 09/04/20 Page 5 of 6 PageID #: 778




       Further, by its proposal, Defendant sought to dispose of the normal claim construction

procedures, which includes an exchange of claim terms and intrinsic and extrinsic evidence in

support of their respective positions, which would result in undue prejudice to Arbor. See, e.g.,

Location Based Services, LLC v. Sony Elecs. Inc., No. 18-cv-00283 (D. Del. Nov. 15, 2018)

(denying Defendant’s request for early claim construction because it was unduly prejudicial to

plaintiff and the issue would likely involve reliance on extrinsic evidence and expert testimony).

Given the complex nature of technology at issue, Defendant should be required to follow this

Court’s established claim construction disclosures to ensure complete briefing of the issues.

Indeed, by denying Defendant’s request for early claim construction, this Court did just that. See

September 2, 2020 Scheduling Order (D.I. 47) (requiring the parties to brief claim construction

issues with an understanding of the other party’s position). Engaging in this process once in the

case, rather than twice, promotes judicial efficiency and ensures that the parties can address all the

issues regarding any given claim term.

       As a final matter, Defendant has not raised an issue unique to this case, such that there is

no compelling reason to justify phasing claim construction.

                                          CONCLUSION

       For at least the foregoing reasons, the Court should deny Defendant’s motion.




                                                -5-
Case 1:19-cv-01986-MN Document 49 Filed 09/04/20 Page 6 of 6 PageID #: 779




                                 POTTER ANDERSON & CORROON LLP
OF COUNSEL:
                                 By: /s/ Philip A. Rovner
Paul J. Andre                        Philip A. Rovner (#3215)
Lisa Kobialka                        Jonathan Choa (#5319)
James Hannah                         Hercules Plaza
Kristopher Kastens                   P.O. Box 951
KRAMER LEVIN NAFTALIS                Wilmington, DE 19899
& FRANKEL LLP                        (302) 984-6000
990 Marsh Road                       provner@potteranderson.com
Menlo Park, CA 94025                 jchoa@potteranderson.com
(650) 752-1700
                                 Attorneys for Plaintiff
Jonathan S. Caplan               Arbor Global Strategies LLC
Marcus A. Colucci
KRAMER LEVIN NAFTALIS
& FRANKEL LLP
1177 Avenue of the Americas
New York, NY 10036
(212) 715-9100

Dated: September 4, 2020
6861189




                                   -6-
